 

Case 4:18-CV-00023-.]EG-HCA Document 1-1 Filed 01/25/18 Page 1 of 6

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Tc) Deiendant($):

i. You are notified that i~'>lainiifi(s) demand(s) from you the amount of $ §§QQM v plus court
costs named on (siaiu briefiy inn umw for the demand, not t:;) unceed $50(30):
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2, Jul:ig;inent may he entered again$l: you unless you file an Ai:);:)eaiance and Answar as ioliuws:
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Sizzie, you must file your Appearance and Answer within 66 days cf the filing of tile Grigin§i
Noiicu Wiin the SQCi”atary uf Siz»zte,
ii if you received service of this Oi"iglnall limine in a,manner other than by mail, you must iil@ your
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3. You n'ius=:»i el@ctrunlcaily file ina Appeaiance sand Answer using the iowa Judicial Brancl'z l§leclr<mlc
Documaent Mzanngemient Sysi.em (EDMS) eliM&;§M%iommiii§‘§u;i§iimu§i§§il§, unless you obtain from
the court an axernplir;)n from electronic illan requirumenis.

ill ii your Al:)pearnncn and An$\lvui is timely filed and you deny the claim you will receive electronic
notification through Ei;)i\ii$ of the time and place forth hearing on this mailei‘.

5. li you electronically iiie, EDI\!\S Will serve) a copy cf tim Ai:)p€earani;e and Answer on Plainiiif(u) or on ina
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Case 4:18-CV-00023-.]EG-HCA Document 1-1 Filed 01/25/18 Page 2 of 6

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Des Moines, Iowa 50309 _r

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Case 4:18-CV-00023-.]EG-HCA Document 1-1 Filed 01/25/18 Page 3 of 6

STATE oi= iowA JuchlARY CM“'°~ §C|:C§OBSSO
County 0

Oase T"f'e ROBERT CLAUSS \/S G_ULF COAST VVESTERN

TH|S CASE HAS BEEN FlLED |N A COUNTY THAT USES ELECTRON|C F|L.|NG.
Thereicre, unless the attached Petltlon and Origlnal Noi|cc contains a hearing dale for your appearance, or unless you obtain an
exemption from the courl. you must file your Appearance and Answer el<i,~ctrcnicullyl

You must register through the iowa Juc|iciai Branch webs|te at DLtQ:/waw.iowacourls.stalc.ia.u§/Enle and obtain a log |n and
pcssword fortna purposes of filing and viewing documents on your case and of receiving service and notices from the court

FOR GENERAL RULES AND lNFORMAT|ON ON ELECTRON[C FlL|NG, REFER TO THE lOWA COURT RULES CHAPTER
16 PERTA|N|NG TO THE USE OF THE ELECTRON|C DOCUMENT MANAGEMENT SYSTEM:

iiliQ://www.iowacourlc.slate.ia.us/Eii|e

FOR COURT RULES ON PROTECT|ON OF PERSONAL PRlVACY lN COURT F|LlNGS, REFER TO DlVlS|ON Vl OF iOWA
COURT RUL.ES CHAPTER 16: hit ://Www.|owacourts s al Ai ,us Efi|§;

 

 

Scneduied Hean'ng:

 

lf you require the assistance cf auxiliary aids or services to participate in court because of a disabilityy immediately call your district
ADA coordinatorat (515) 286-3394 . (|f you are hearing impaired, cali Re|ay iowa TTY al1-800-735-2942.)

Dale!ssued 12/11/2017 10:44:04 AM

 

cramer clerk of P<>il< county
/s/ Kristy Rasmussen

 

 

Case 4:18-CV-00023-.]EG-HCA Document 1-1 Filed 01/25/18 Page 4 of 6

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Afiidttvit of Robert Clouss
Sz‘czte o/`lowa, Cotmry QfPol/c, sss

The undersigned Robert Clauss, being first duly Sworn on oath7 depose and
Stete as follows:

l. l am of legal age end em giving this affidavit of my own personal
knowledge
2. l ann on individual end resident oi’Poll< County. My horne address is

9923 Clerk Street, Clive, lowe 50325 where l have resided with my wife for more
than twenty (20) yeere.

3. At eli times material end relevant herein, my horne telephone number
et the Clork Street address has been 515-225-3665.

4. Fronn and after 31 August 2003, and et eli times material end relevant
herein, rny home telephone number of 515-225-3 665 has been registered with the
Federel Do Not Call Regietry as evidence by Attechrnent A to this ei`iidovit.

5. On or about the dates end times Set forth below, l received unsolicited
telephone Sales cells from the Defendent and/or its agente directed to rne tit my horne
phone number of 515-225~3665. ln each instance the caller attempted to Sell me
products end/or Services on behalf of the Defendent in violation of the Do Not Coll
Registry.

Cells Were i"ro.n’i 516-277-1234 end 212-38()-2878

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6. Upon receiving Seid phone calls l Would notify the celler they Were
calling my home end that the telephone number they had called Wes registered on
the Do Not Cell Registry. Additionally, I would notify the caller that rny number
Should be deleted from the cell list end that no further cells Should be directed to me
at horne on the 515-225-3665 phone number.

7. Besed upon the multiple cells received from the Dei`endent and/or its
agents, l can only conclude that Defendant’s violations of the Do Not Call R.egistry
Were Willih:il and intentional as Well as in disregard of the protections to be afforded
me by registering my telephone number on the Do Not Cel,l Registry

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Case 4:18-CV-00023-.]EG-HCA Document 1-1 Filed 01/25/18 Page 5 of 6

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8. Ful'ther Afflant Sayeth Not.

    

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Robert Clauss

 

 

Su.bscribed m}dw§\>\/m‘n to before me by Robel't Clauss on this g day Of

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Case 4:18-CV-00023-.]EG-HCA Document 1-1 Filed 01/25/18 Page 6 of 6

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Cail Registry: 1 d

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PrvaCr~:ne§§@:l§¥:zMW_l

From: Verify@DonotCali.gov {mallto:\/erify@Donot<;ail.gov]

Sent: Frlday, December 01, 2017 10:21 AM

‘(“0' " '

Suhlcct: Nationai 00 Not Call Reglstry ~ Your Registratlon is Conflrmed

Tnanl< you far registering your phone number with the Natlonai D<:) Nc)t Cnli Reglsiry. You successfully registered your phone number ending in 3665 on August
31, 2003. Most teiemarketers wlll be required to stop calling you 31 days from your registration date.

Vlslt §§ign,§;[¢g¢y¢_y¢lghgnmc§z!i mg to reglsfer another number ar file a complaint nga inst someone violating the Registry.

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outgnlng emalls only and cannot respond to inquiries.

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